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                  UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS
 ____________________________________
 In re:                              )
                                      )
 David Howe                          )  Chapter 13
                                      ) Case No: 20‐40229-CJP
        Debtor.                      )
 ____________________________________)

                COMMISSIONER OF MASSACHUSETTS
             DEPARTMENT OF REVENUE’S OBJECTION TO
        CONFIRMATION OF DEBTOR’S AMENDED CHAPTER 13 PLAN

         NOW COMES Geoffrey E. Snyder, as he is Commissioner of the Massachusetts
 Department of Revenue (“MDOR”), a creditor and party in interest in the above-captioned
 matter, and pursuant to inter alia, the provisions of 11 U.S.C. §§ 1322, 1324 and 1325, and in
 accordance with Federal Rules of Bankruptcy Procedure Rule 3015(f) and Massachusetts
 Local Bankruptcy Rules (“MLBR”) 13-8 and 13-11(b), objects to the confirmation of the
 Debtor’s Amended Chapter 13 Plan (“Plan”). In support thereof, MDOR states the
 following:
 1.      The Debtor has not yet filed his Massachusetts personal income tax return for the
 period ending 12/31/2019. Confirmation should therefore be denied pursuant to 11 U.S.C.
 § 1325(a)(9) which requires that the Debtor have filed all applicable federal, state and local
 tax returns as required by section 1308.
 2.      Until the Debtor files his requisite return MDOR is unable to ascertain the exact
 amount of its claim for that tax period and therefore unable to determine whether the plan is
 feasible. MDOR brings this objection to preserve its rights in this respect.
 3.      For the foregoing reasons, the plan does not comply with the provisions of Chapter
 13. Consequently, the plan cannot be confirmed pursuant to 11 U.S.C. § 1325(a)(1).
         WHEREFORE, Geoffrey E. Snyder, as he is Commissioner of the Massachusetts
 Department of Revenue, respectfully requests that this Honorable Court:
         a. Sustain this objection and deny confirmation of the Debtor’s Amended Chapter
 13 Plan;
         b. Enter an order for such other relief as the Court deems just and proper.




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                                        Respectfully submitted
 Dated: May 29, 2020                    GEOFFREY E. SNYDER, COMMISSIONER
                                        MASSACHUSETTS DEPARTMENT OF
                                        REVENUE
                                        By his attorneys,

                                        MAURA HEALEY
                                        ATTORNEY GENERAL OF MASSACHUSETTS

                                        Kevin Brown, General Counsel and
                                        Special Assistant Attorney General

                                        /s/ John B. O’Donnell_
                                        John B. O’Donnell (BBO # 673351)
                                        Counsel to the Commissioner
                                        Massachusetts Department of Revenue
                                        Litigation Bureau
                                        100 Cambridge Street, P. O. Box 9565
                                        Boston, MA 02114
                                        (617) 626-3869
                                        odonnellj@dor.state.ma.us



                              CERTIFICATE OF SERVICE

         I, John B. O’Donnell, hereby certify that on this 29th day of May, 2020 I have
 caused to be served a true and accurate copy of the within document by first class mail,
 postage pre-paid or by electronic notice, where indicated, upon the following parties:


 Electronic Notification

 Denise Pappalardo, Esq.
 Chapter 13 Trustee

 Richard King, Esq.
 Office of the United States Trustee

 Richard Mestone, Esq.

                                                /s/ John B. O’Donnell
                                                John B. O’Donnell




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